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                 UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


IN RE GEORGIA SENATE BILL 202                           No. 1:21-MI-55555-JPB
                                                                  ALL CASES

                                    ORDER

      This matter is before the Court on State Defendants’ Motion to Extend

Discovery [Doc. 453]. This Court finds as follows:

      On December 23, 2021, this Court consolidated for discovery six voting

cases challenging Georgia Senate Bill 202. [Doc. 1]. Pursuant to the Scheduling

Order, discovery in the cases opened on February 1, 2022. [Doc. 84]. Given the

complexity of the cases and the amount of discovery contemplated, the parties

were originally given over a year to complete discovery. Id. Indeed, discovery

was scheduled to close on February 10, 2023. Id.

      Since the Scheduling Order was entered, the discovery deadline has been

extended twice. More specifically, on September 14, 2022, the Court amended the

Scheduling Order. [Doc. 259]. Per the parties’ request, discovery was extended

through and including March 17, 2023. Id. The Court amended the Scheduling

Order again on February 6, 2023, and extended the discovery period through and

including March 31, 2023. [Doc. 400].
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      On March 3, 2023, State Defendants filed the instant Motion to Extend

Discovery. [Doc. 453]. In the motion, State Defendants requested the following:

(1) a two-month extension of the discovery period; (2) a date certain for the end of

fact discovery; and (3) an order vacating the summary judgment briefing schedule.

Both the United States and the Private Plaintiffs oppose State Defendants’ motion,

primarily citing Purcell concerns.

      The breadth of discovery thus far in these cases has been enormous. For

instance, State Defendants alone have already produced over 1.36 million pages in

documents, and altogether, the parties have conducted several dozen depositions.

Many more depositions are already scheduled to take place before the end of the

current discovery period. Despite this diligence, State Defendants contend that a

significant amount of discovery remains outstanding, including (1) conducting

more than a dozen more fact depositions; (2) conducting twenty-two expert

depositions, many of which are out of state; and (3) responding to pending

discovery requests. In essence, State Defendants argue that these tasks cannot be

completed before the existing deadline of March 31, 2023.

      The Court commends all parties on their efforts to complete discovery by the

deadline. However, given the complexity of these cases, this Court finds that more

discovery remains to be completed than can be accomplished in the current


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discovery period. Although the Court concludes that some extension is

appropriate, the Court is not willing to grant the full extension requested. As such,

States Defendants’ Motion to Extend Discovery [Doc. 453] is GRANTED IN

PART. IT IS HEREBY ORDERED that fact discovery is extended through and

including April 14, 2023, and expert discovery is extended through and including

May 19, 2023.

      The summary judgment briefing schedule is VACATED. The parties shall

meet and confer to discuss the most efficient way to present summary judgment

motions to the Court. The parties should discuss, at a minimum, whether it is

possible to consolidate some or all of the summary judgment briefing by either

filing an omnibus motion or at least a consolidated statements of facts that will

pertain to every case. The parties should also discuss the briefing schedule for the

motions. In complex cases such as these where there are more than twenty claims

and millions of pages of documents, it is likely that the summary judgment

deadlines set forth in the Local Rules will need to be modified.

      The parties shall submit a status report to the Court regarding the summary

judgment briefing no later than May 25, 2023. If the parties cannot agree on an

acceptable solution, each party should submit a proposal. In the event that a

hearing is necessary, either because the parties cannot agree on a proposed solution


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or the Court is unable to decide from the written submissions, the Court will

conduct a hearing on May 31, 2023.

      SO ORDERED this 17th day of March, 2023.




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